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      Fill in this information to identify the case:

                    Metronomic Holdings, LLC
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   __20-20310-LMI________________                                                                              amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     QIDIAN                                                             Unsecured Loan
1    7925 JONES BRANCH DRIVE                                            Repayments
     STE 4350
                                                                                                                                                     51,304,168.00
     TYSONS, VA, 22101


     FUSE FUNDING                                                       Mortgage
2    900 NW 6TH ST
     STE 101A
                                                                                                                                                     17,654,337.00
     FORT LAUDERDALE, FL, 33311

     TCM                                                                Mortgage
3    141 NE 3RD AVE
     STE 500
                                                                                                                                                     5,750,000.00
     MIAMI, FL, 33132


     B&B                                                                Mortgage
4    2601 NE 2ND AVE
                                                                                                                                                     5,040,000.00
     MIAMI, FL, 33137


     KATALOX                                                            Mortgage
5    1010 BRICKELL AVE
     STE 4006                                                                                                                                        2,086,000.00
     MIAMI, FL, 33131

     LURTON                                                             Mortgage
6    2999 NE 191 ST
     STE 901                                                                                                                                         1,800,000.00
     AVENTURA, FL, 33180


     DERM                                                               Suppliers or Vendors
7    701 NW 1ST CT
                                                                                                                                                     1,510,011.47
     MIAMI, FL, 33136

     HUNT                                                               Mortgage
8    230 PARK AVE 19TH FL
                                                                                                                                                     1,506,000.00
     NEW YORK, NY, 10169




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                  Metronomic Holdings, LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff
     JAKIMOUR                                                        Unsecured Loan
9    3403 DAY AVE                                                    Repayments
                                                                                                                                                    1,000,000.00
     MIAMI, FL, 33133

     UNIVERSAL LOAN                                                  Unsecured Loan
10 2607 NE 189 ST                                                    Repayments
                                                                                                                                                    1,000,000.00
     AVENTURA, FL, 33180


     MIAMI TAX COLLECTOR                                             PROPERTY TAXES
11 200 NW 2ND AVE 4TH FL
                                                                                                                                                    488,538.46
     MIAMI, FL, 33128

     PVBM                                                            Mortgage
12 10101 S DIXIE HWY
                                                                                                                                                    462,000.00
     PINECREST, FL, 33156


     BURGOS LANZA                                                    Suppliers or Vendors
13 1248 S ALAHAMBRA CIRCLE
                                                                                                                                                    443,850.00
     CORAL GABLES, FL, 33146

     MEXICAN AMERICAN CONSTRUCTION                                   Suppliers or Vendors
14 2259 NE 42ND AVE
                                                                                                                                                    329,000.00
     MIAMI, FL, 33033

     M & M CONSTRUCTION                                              Suppliers or Vendors
15 15271 NW 60TH AVE
                                                                                                                                                    283,681.31
     MIAMI LAKES, FL, 33014

     CITY OF MIAMI                                                   Suppliers or Vendors
16 444 SW 2ND AVE
                                                                                                                                                    244,994.10
     MIAMI, FL, 33130

     MIAMI DADE WATER AND SEWER                                      Suppliers or Vendors
17 DEPARTMENT
     3071 SW 38TH AVE
                                                                                                                                                    166,591.61
     MIAMI, FL, 33146
     REGENCY MAINTENANCE INC                                         Suppliers or Vendors
18 655 SE 37TH TERRACE
                                                                                                                                                    146,982.06
     HOMESTEAD, FL, 33033

     FLORIAN IRON DESIGNS                                            Suppliers or Vendors
19 3540 NW 52 ST
     MIAMI, FL, 33142                                                                                                                               125,197.12


     EXTREME ELECTRIC SYSTEMS INC                                    Suppliers or Vendors
20 2431 W 80TH ST
     UNIT 2                                                                                                                                         89,402.78
     HIALEAH, FL, 33016




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